                          IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                  CHARLOTTE DIVISION
                                     3:15-CR-00024-RJC
    USA                                             )
                                                    )
      v.                                            )                 ORDER
                                                    )
    KENATE FUNDERBURK                               )
                                                    )

           THIS MATTER is before the Court upon letter of the defendant concerning medical

treatment in custody. (Doc. No. 249).

           The defendant has pled guilty to a drug charge and is awaiting sentencing. (Doc. No. 235:

Plea Agreement; Doc. No. 236: Acceptance and Entry of Guilty Plea). He has been detained

since the initiation of this case. (Doc. No. 57: Order of Detention). The defendant states he has a

heart condition that is not being addressed in jail. He would like to be considered for bond;

however, he is not eligible for bond pending sentencing absent a clear showing of extraordinary

circumstances. 18 U.S.C. §§ 3143(a), 3145(c). The Court finds that the defendant’s allegations

do not establish exceptional reasons why his detention is not appropriate.

           Title 18, United States Code, Section 3142(i) allows a court to direct a defendant into the

custody of the Attorney General for confinement in a corrections facility, and to direct that the

person be afforded reasonable opportunity to consult with counsel. The statute does not provide

the Court authority in a criminal case to direct the corrections facility in its medical care for a

pretrial detainee.1




1
 The Fourth Circuit has recognized a federal pretrial detainee’s right of action under 42 U.S.C. §
1983 to seek redress for deliberate indifference to his medical needs. Loe v. Armistead, 582 F.2d
1291, 1293-94 (4th Cir. 1978).


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                      IT IS, THEREFORE, ORDERED that the defendant’s motion for bond is DENIED.

              However, the Court requests that United States Marshals Service inquire with the jail regarding

              the defendant’s medical treatment.

                      The Clerk is directed to certify copies of this order to counsel for the defendant, to the

              United States Attorney, and the United States Marshals Service.

Signed: September 25, 2015




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